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                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF COLORADO

In re                                  )
                                       )
CHRISTOPHER P. BOYD,                   )
                                       )             Case No. 22-12455-TBM
Debtor.                                )             Chapter 13
                                       )
______________________________________ )
                                       )
HEMP RECOVERY COMPANY, LLC,            )             Adv. Proc. No. 22-01258-TBM
                                       )
Plaintiff,                             )
                                       )
v.                                     )
                                       )
CHRISTOPHER P. BOYD.                   )
                                       )
Defendant.                             )
                                       )

   ORDER GRANTING UNOPPOSED MOTION TO EXTEND DEADLINE TO FILE
            REPLY TO MOTION FOR SUMMARY JUDGMENT


        THIS MATTER is before the Court on Plaintiff’s "Unopposed Motion to Extend Deadline

to File Reply to Motion for Summary Judgment" (Docket No. 25, the “Motion”). The

Court has reviewed the Motion, including the representation in the Motion that Plaintiff's counsel

conferred with Defendant's counsel who does not object to the extension of time requested, and

the record in this case.

        ORDER that the Motion is granted.     The Court further

        ORDERS that Plaintiff shall have up to and including June 16, 2023 to file its Reply to

the Motion for Summary Judgment.


DATED this 24th day of May, 2023.                    BY THE COURT:


                                                     ____________________________
                                                     Thomas B. McNamara,
                                                     U.S. BANKRUPTCY JUDGE
